THE COURT.
The defendant appeals from the order denying its motion to vacate the judgment rendered against it in favor of the plaintiff on the seventeenth day of June, *Page 784 
1926, and also appeals from an order refusing to grant its motion for a new trial.
By the provisions of section 963 of the Code of Civil Procedure, no appeal lies from the denial of a motion for new trial.
[1] The facts disclosed by the record in this case are identical with the facts which appear in the record in the case of Startzman v. Los Banos Cotton Gins, Inc., 82 Cal.App. 624
[256 P. 220]. In that case the order of the trial court refusing to set aside the judgment was affirmed.
Upon the authority of the case just referred to it follows that the order denying the motion to set aside the judgment in the action must be affirmed, and it is so ordered. The appeal from the order refusing to grant a new trial is dismissed.